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                          In the Matter Of:

          JAMES vs PORT AUTHORITY P.D., ET AL.
                              1:22-cv-02463-PGG




                       KEJUAN ROBINSON

                            March 22, 2023
         Case 1:22-cv-02463-PGG Document 51-4 Filed 05/26/23 Page 3 of 5

      KEJUAN ROBINSON                                            March 22, 2023
      JAMES vs PORT AUTHORITY P.D., ET AL.                                    1

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·2·   ·UNITED STATES DISTRICT COURT
· ·   ·SOUTHERN DISTRICT OF NEW YORK
·3·   ·------------------------------------------X
· ·   ·TRION JAMES,
·4
· ·   · · · · · · · · · · · · PLAINTIFF,
·5

·6· · · · · · ·-against-· · Case No.:

·7· · · · · · · · · · · · · 1:22-cv-02463-PGG

·8
· ·   ·PORT AUTHORITY POLICE DEPARTMENT, PORT
·9·   ·AUTHORITY OF NEW YORK AND NEW JERSEY,
· ·   ·EDWARD CETNAR (in his official capacity),
10·   ·CHRISTOPHER MCNERNEY (in his official
· ·   ·capacity), and DOES 1-5,
11
· ·   · · · · · · · · · · · · · · DEFENDANTS.
12·   ·------------------------------------------X

13

14· · · · · · · · · DATE:· March 22, 2023

15· · · · · · · · · TIME:· 10:31 A.M.

16

17

18· · · · · · ·DEPOSITION of a non-party

19· ·witness, KEJUAN ROBINSON, via Zoom, taken

20· ·by the Respective Parties, pursuant to

21· ·Subpoena and to the Federal Rules of Civil

22· ·Procedure, held at the offices of

23· ·BALESTRIERE FARIELLO, 225 Broadway, New

24· ·York, New York 10007, before Dione Woods, a

25· ·Notary Public of the State of New York.


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      KEJUAN ROBINSON                                            March 22, 2023
      JAMES vs PORT AUTHORITY P.D., ET AL.                                    2

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·2· ·A P P E A R A N C E S:

·3

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· ·   · ·BY:· RUTH CHUNG, ESQ.
·7·   · · · ·Of Counsel

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·9·   ·THE PORT AUTHORITY OF NEW YORK AND NEW
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12·   · ·New York, New York 10006
· ·   · ·BY:· MEGAN LEE, ESQ. and
13·   · · · ·ANDREW RAFALAF, ESQ.

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   KEJUAN ROBINSON                                            March 22, 2023
   JAMES vs PORT AUTHORITY P.D., ET AL.                                   16

·1· · · · · · · · · ·K. ROBINSON
·2· ·guys you know it's safe for me to go
·3· ·upstairs.
·4· · · · · · · At that point I called the
·5· ·manager over, the manager came out.· At
·6· ·first it was very calm.· The manager asked
·7· ·him to explain the situation.· Then he
·8· ·explained to him that he was not allowed
·9· ·upstairs because scanning was closed down,
10· ·and it kind of just took off from there as
11· ·far as like aggression, if you call it.
12· · · · · · · It went back and forth for a
13· ·while why he couldn't be allowed up.· It
14· ·got to a point where it was almost
15· ·physical.· And that's pretty much it.
16· · · · Q.· · So, when you say, "it was
17· ·almost physical," is it fair to say that
18· ·you did not observe any physical
19· ·interaction between the person who came in
20· ·with the reservation and the other guard
21· ·that he was talking, to your manager?
22· · · · A.· · No, I did not see anything
23· ·physical.· They were just like very close.
24· ·Like, chest to chest pretty much.
25· · · · Q.· · When you say that you saw this


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